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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE                    )
 OF THE NAACP, et al.,                            )
                                                  ) Civil Action No.: 1:22-cv-00339
                 Plaintiffs,                      )
                                                  )
         v.                                       ) Judge Susan P. Baxter
                                                  )
 LEIGH M. CHAPMAN, et al.,                        )
                                                  )
                 Defendants.                      )


               MEMORANDUM IN SUPPORT OF INDIVIDUAL VOTERS’
              AND REPUBLICAN COMMITTEES’ MOTION TO INTERVENE

        David Ball, James D. Bee, Debra Biro, Jesse D. Daniel, Gwendolyn Mae DeLuca, Ross M.

Farber, Lynn Marie Kalcevic, Vallerie Sicilano-Biancaniello, and S. Michael Streib (together,

“Individual Voters”) and the Republican National Committee, National Republican Congressional

Committee, and Republican Party of Pennsylvania (together, “Republican Committees”), support

and seek to uphold free and fair elections on behalf of all Pennsylvanians. The Individual Voters

and the Republican Committees therefore respectfully move to intervene as defendants to defend

the General Assembly’s duly enacted laws governing the elections in which the Individual Voters,

and the Republican Committees, their candidates, their voters, and their supporters, exercise their

right to vote and their constitutional rights to participate in elections.

        Just last week the Republican Committees prevailed in the Pennsylvania Supreme Court

on the very issue presented in Plaintiffs’ Complaint in this Court. In particular, ruling on the

petition filed by the Republican Committees, the Pennsylvania Supreme Court held that the

General Assembly’s date requirement for absentee and mail-in ballots is mandatory and lawful

and, thus, that election officials may not count any absentee or mail-in ballot that fails to comply


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with it. See Order, Ball v. Chapman, No. 102 MM 2022 (Pa. Nov. 1, 2022) (per curiam) (“Ball

Order”). Moreover, in addressing a request for a stay following Pennsylvania’s 2022 primary

election, three Justices of the U.S. Supreme Court concluded that the notion that the date

requirement violates the federal materiality provision, 52 U.S.C. § 10101(a)(2)(B), is “very likely

wrong.” Ritter v. Migliori, 142 S. Ct. 1824, 1824 (2022) (Mem.) (Alito, J., dissenting from the

denial of the application for stay). No other Justices addressed the merits of the issue in that stay

posture.

       Plaintiffs now ask the Court to create a split of authority with the Pennsylvania Supreme

Court and to depart from the opinion of three Justices by holding that the date requirement violates

the federal materiality provision. See Compl. ¶¶ 57-63 (Dkt. No. 1). The Individual Voters and

the Republican Committees maintain that the General Assembly’s commonsense and

constitutional date requirement, together with other provisions of the Pennsylvania Election Code,

advances the right to vote, accommodates voters, protects the integrity of and public confidence

in Pennsylvania’s elections, and reduces the likelihood of fraud. The Individual Voters and the

Republican Committees therefore seek to intervene to protect the decision upholding the date

requirement that the Republican Committees obtained from the Pennsylvania Supreme Court.

       More generally, courts across the country routinely grant intervention to political party

committees in similar cases, recognizing that the political parties have an interest in defending

requests for judicial changes to election laws. 1 Here as well, the Republican Committees have a



       1
          See La Union Del Pueblo Entero v. Abbott, 29 F.4th 299 (5th Cir. 2022) (granting
intervention of right to county party committees, Republican National Committee, National
Republican Senatorial Committee, and National Republican Congressional Committee); United
States v. Georgia, No. 1:21-cv-2575 (N.D. Ga. July 12, 2021) (granting intervention to the RNC,
NRSC, and Georgia Republican Party); Concerned Black Clergy of Metro. Atlanta, Inc. v.
Raffensperger, No. 1:21-cv-1728 (N.D. Ga. June 21, 2021) (granting intervention to the RNC,
NRSC, NRCC, and Georgia Republican Party); Coalition for Good Governance v. Raffensperger,
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substantial and particularized interest in defending this action to preserve the electoral environment

and to ensure that Pennsylvania carries out free and fair elections.

       For their part, the Individual Voters have an interest in protecting their right to vote that

could be impaired by disposition of this action. In particular, the Individual Voters have an interest

in protecting the weight of their votes from the dilution that would result if election officials are

permitted to count invalid ballots in contravention of the date requirement. The Individual Voters



No. 1:21-cv-02070 (N.D. Ga. June 21, 2021) (same); New Georgia Project v. Raffensperger, No.
1:21-cv-1229, 2021 WL 2450647 (N.D. Ga. June 4, 2021) (same); Ga. State Conf. of the NAACP
v. Raffensperger, No. 1:21-cv-1259 (N.D. Ga. June 4, 2021) (same); Sixth Dist. of the African
Methodist Episcopal Church v. Kemp, No. 1:21-cv-1284 (N.D. Ga. June 4, 2021) (same); Asian
Ams. Advancing Justice-Atlanta v. Raffensperger, No. 1:21-cv-1333 (N.D. Ga. June 4, 2021)
(same); VoteAmerica v. Raffensperger, No. 1:21-cv-1390 (N.D. Ga. June 4, 2021) (same); Wood
v. Raffensperger, No. 1:20-cv-5155 (N.D. Ga. Dec. 22, 2020) (granting intervention to the DSCC
and Democratic Party of Georgia); Alliance for Retired American’s v. Dunlap, No. CV-20-95 (Me.
Super. Ct. Aug. 21, 2020) (granting intervention to the RNC, NRSC, and Republican Party of
Maine); Mi Familia Vota v. Hobbs, Doc. 25, No. 2:20-cv-1903 (D. Ariz. June 26, 2020) (granting
intervention to the RNC and NRSC); Ariz. Democratic Party v. Hobbs, Doc. 60, No. 2:20-cv-
1143-DLR (D. Ariz. June 26, 2020) (granting intervention to the RNC and Arizona Republican
Party); Swenson v. Bostelmann, Doc. 38, No. 20-cv-459-wmc (W.D. Wis. June 23, 2020) (granting
intervention to the RNC and Republican Party of Wisconsin); Edwards v. Vos, Doc. 27, No. 20-
cv-340-wmc (W.D. Wis. June 23, 2020) (same); League of Women Voters of Minn. Ed. Fund v.
Simon, Doc. 52, No. 20-cv-1205 ECT/TNL (D. Minn. June 23, 2020) (granting intervention to the
RNC and Republican Party of Minnesota); Issa v. Newsom, 2020 WL 3074351, at *4 (E.D. Cal.
June 10, 2020) (granting intervention to the DCCC and Democratic Party of California); Nielsen
v. DeSantis, Doc. 101, No. 4:20-cv-236-RH (N.D. Fla. May 28, 2020) (granting intervention to
the RNC, NRCC, and Republican Party of Florida); Priorities USA v. Nessel, 2020 WL 2615504,
at *5 (E.D. Mich. May 22, 2020) (granting intervention to the RNC and Republican Party of
Michigan); Thomas v. Andino, 2020 WL 2306615, at *4 (D.S.C. May 8, 2020) (granting
intervention to the South Carolina Republican Party); Corona v. Cegavske, Order Granting Mot.
to Intervene, No. CV 20-OC-644-1B (Nev. 1st Jud. Dist. Ct. Apr. 30, 2020) (granting intervention
to the RNC and Nevada Republican Party); League of Women Voters of Va. v. Va. State Bd. of
Elections, Doc. 57, No. 6:20-cv-24-NKM (W.D. Va. Apr. 29, 2020) (granting intervention to the
Republican Party of Virginia); Paher v. Cegavske, 2020 WL 2042365, at *2 (D. Nev. Apr. 28,
2020) (granting intervention to four Democratic Party entities); Democratic Nat’l Comm. v.
Bostelmann, 2020 WL 1505640, at *5 (W.D. Wis. Mar. 28, 2020) (granting intervention to the
RNC and Republican Party of Wisconsin); Gear v. Knudson, Doc. 58, No. 3:20-cv-278 (W.D.
Wis. Mar. 31, 2020) (same); Lewis v. Knudson, Doc. 63, No. 3:20-cv-284 (W.D. Wis. Mar. 31,
2020) (same); see also Democratic Exec. Cmte. of Fla. v. Detzner, No. 4:18-cv-520-MW-MJF
(N.D. Fla. Nov. 9, 2018) (granting intervention to the NRSC).
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also have an interest in maintaining clarity and certainty regarding their rights and obligations if

they choose to exercise their statutory right to vote by absentee or mail-in ballot. See 25 P.S.

§§ 3146.1, 3150.11.

       Accordingly, as explained more fully below, the Court should grant the Individual Voters

and the Republican Committees intervention under Rule 24. The Individual Voters and the

Republican Committees have a right to intervene under Rule 24(a) because this motion is timely

and they have a substantial interest in the validity of Pennsylvania’s election framework—an

interest they can protect only by participating in these cases. In the alternative, and at a minimum,

the Court should grant the Individual Voters and the Republican Committees permissive

intervention under Rule 24(b) because their defenses share common questions of law and fact with

the existing parties, and intervention will not result in any delay or prejudice. As required by Rule

24(c), the Individual Voters and the Republican Committees have attached a proposed Motion to

Dismiss Plaintiffs’ Complaint and, alternatively, a proposed Answer to Plaintiffs’ Complaint.

                                        BACKGROUND

       Individual Voters. David Ball resides in Washington County, Pennsylvania and is a

registered Pennsylvania elector who consistently votes in each election.

       James D. Bee resides in Cambria County, Pennsylvania and is a registered Pennsylvania

elector who consistently votes in each election.

       Jesse D. Daniel resides in Indiana County, Pennsylvania and is a registered Pennsylvania

elector who consistently votes in each election.

       Gwendolyn Mae Deluca resides in Beaver County, Pennsylvania and is a registered

Pennsylvania elector who consistently votes in each election.

       Ross M. Farber resides in Westmoreland County, Pennsylvania and is a registered

Pennsylvania elector who consistently votes in each election.
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       Lynn Marie Kalcevic resides in Beaver County, Pennsylvania and is a registered

Pennsylvania elector who consistently votes in each election.

       Vallerie Siciliano-Biancaniello resides in Delaware County, Pennsylvania and is a

registered Pennsylvania elector who consistently votes in each election.

       S. Michael Streib resides in Butler County, Pennsylvania and is a registered Pennsylvania

elector who consistently votes in each election.

       Each of the Individual Voters regularly votes in both primary and general elections and

intends to vote for candidates in all races on their respective ballots in the 2022 general election,

including but not limited to the races for U.S. Senate, U.S. House of Representatives, Pennsylvania

Senate, and Pennsylvania House of Representatives. Individual Voters, each of whom has the

right to vote via mail-in ballot, have a particularized interest in knowing the exact requirements

for such mail-in ballots to be counted.

       Moreover, the counting of undated or incorrectly dated ballots by some or all county boards

of elections in violation of the Election Code has interfered, and threatens to interfere, with the

Individual Voters’ right to free and equal elections. In particular, the votes validly cast by the

Individual Voters have been and will be canceled out and diluted by the counting of undated or

incorrectly dated ballots.

       The Republican Committees. The Republican National Committee (“RNC”) is the national

committee of the Republican Party as defined by 52 U.S.C. § 30101(14). The RNC manages the

Republican Party’s business at the national level, including development and promotion of the

Party’s national platform and fundraising and election strategies; supports Republican candidates

for public office at all levels across the country, including those on the ballot in Pennsylvania; and

assists state parties throughout the country, including the Republican Party of Pennsylvania, to



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educate, mobilize, assist, and turn out voters. The RNC has made significant contributions and

expenditures in support of Republican candidates up and down the ballot and in mobilizing and

educating voters in Pennsylvania in the past many election cycles and intends to continue doing

so in 2022 and beyond. The RNC has a substantial and particularized interest in ensuring that

Pennsylvania carries out free and fair elections.

       The National Republican Congressional Committee (the “NRCC”) is the national

congressional committee of the Republican Party as defined by 52 U.S.C. § 30101(14). The

NRCC’s mission is to elect Republican candidates to the U.S. House of Representatives from

across the United States, including from Pennsylvania’s eighteen congressional districts. The

NRCC works to accomplish its mission in Pennsylvania by, among other things, providing direct

and indirect financial contributions and support to candidates and other Republican Party

organizations; providing technical and research assistance to Republican candidates and Party

organizations; engaging in voter registration, voter education and voter turnout programs; and

other Republican party-building activities.

       The Republican Party of Pennsylvania (the “RPP”) is a major political party, 25 P.S.

§ 2831(a), and the “State committee” for the Republican Party in Pennsylvania, 25 P.S. § 2834, as

well as a federally registered “State Committee” of the Republican Party as defined by 52 U.S.C.

§ 30101(15). The RPP on behalf of itself and its members nominates, promotes, and assists

Republican candidates seeking election or appointment to federal, state, and local office in

Pennsylvania.

       The RNC, NRCC, and RPP (the “Republican Committees”) each have made significant

contributions and expenditures in support of Republican candidates up and down the ballot and in

mobilizing and educating voters in Pennsylvania in past election cycles and are doing so again in



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2022. These efforts include devoting substantial time and resources towards monitoring of the

voting and vote counting process in Pennsylvania and to ensure it is conducted lawfully. The

Republican Committees make expenditures to ensure they and their voters understand the rules

governing the elections process, including applicable dates, deadlines, and requirements for voting

by mail or absentee. These efforts require a uniform application of the law and a clear and

transparent understanding of mail voting requirements, including any allowances for notice and

opportunity to cure procedures. The Republican Committees have a substantial and particularized

interest in ensuring that Pennsylvania administers free and fair elections.

       Procedural History. As Plaintiffs acknowledge, this suit is merely the latest in a long line

of attempts to persuade the courts to undo the General Assembly’s date requirement for absentee

and mail-in ballots. See Compl. ¶¶ 36–56. After seven cases in five different courts over two

years, the current state of the law is that the General Assembly’s date requirement is mandatory

and that any noncompliant absentee or mail-in ballot may not be counted in the 2022 general

election and beyond. See id.; see also Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006) (federal courts

may not order changes to state election laws on the eve of an election). On November 1, the

Pennsylvania Supreme Court ruled in a case brought by the Republican Committees that the date

requirement is lawful and mandatory under state law. See Ball Order. The Pennsylvania Supreme

Court’s order noted that “[t]he Court is evenly divided on the issue of whether failing to count

such ballots violates 52 U.S.C. § 10101(a)(2)(B).” Id. at 1. It therefore ordered county boards of

elections “to refrain from counting any absentee and mail-in ballots received for the November 8,

2022 general election that are contained in undated or incorrectly dated outer envelopes.” Id.

       The Pennsylvania Supreme Court’s order comported with the view of three Justices of the

U.S. Supreme Court. In addressing an application for a stay following Pennsylvania’s 2022



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primary election, three Justices concluded that the notion that the date requirement violates the

federal materiality provision is “very likely wrong.” Ritter v. Migliori, 142 S. Ct. 1824, 1824

(2022) (Mem.) (Alito, J., dissenting from the denial of the application for stay). No other Justices

addressed the merits in the stay posture of that litigation. h

        Nonetheless, Plaintiffs now ask the Court to create a split of authority with the

Pennsylvania Supreme Court and to depart from the opinion of three Justices by holding that the

date requirement violates the federal materiality provision. See Compl. ¶¶ 57-63. In particular,

Plaintiffs Pennsylvania State Conference of the NAACP and other organizations filed this suit

against the Acting Secretary of the Commonwealth and the County Boards of Elections on

November 4 purporting to plead a single count challenging the date requirement as a violation of

federal law. Compl. ¶¶ 57–64. As of the time of this filing, Plaintiffs have filed no returns of

service on the docket.

                                             ARGUMENT

        The Court should grant the Individual Voters and the Republican Committees intervention

of right because they satisfy all four requirements of Rule 24(a). In the alternative, and at a

minimum, the Court should grant permissive intervention under Rule 24(b).

I.   THE COURT SHOULD GRANT THE INDIVIDUAL VOTERS AND THE
     REPUBLICAN COMMITTEES INTERVENTION OF RIGHT

        Intervention of right is appropriate when, upon a timely motion, a party:

        claims an interest relating to the property or transaction that is the subject of the
        action, and is so situated that disposing of the action may as a practical matter
        impair or impede the movant’s ability to protect its interest, unless existing parties
        adequately represent that interest.

Fed. R. Civ. P. 24(a)(2). To satisfy Rule 24(a)(2), a movant must establish: “(1) the application

for intervention is timely; (2) the applicant has a sufficient interest in the litigation; (3) the interest

may be affected or impaired, as a practical matter by the disposition of the action; and (4) the

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interest is not adequately represented by an existing party in the litigation.” Harris v. Pernsley,

820 F.2d 592, 596 (3d. Cir. 1987). The Individual Voters and the Republican Committees readily

meet each of these four requirements, entitling them to intervention of right.

       A.      This Motion Is Timely

       It cannot be disputed that this Motion is timely. The timeliness of a motion to intervene is

“determined from all the circumstances’ and, in the first instance, ‘by the [trial] court in the

exercise of its sound discretion.’” In re Fine Paper Antitrust Litig., 695 F.2d 494, 500 (3d Cir.

1982) (citing NAACP v. New York, 413 U.S. 345, 366 (1973)). The Third Circuit has outlined

three factors to be considered when assessing the timeliness of a motion to intervene: (1) the stage

of the proceeding; (2) the prejudice that delay may cause the parties; and (3) the reason for the

delay. Mt. Top Condo. Ass’n v. Dave Stabbert Master Builder, Inc., 72 F.3d 361, 369 (3d Cir.

1995) (citing In re Fine Paper Antitrust Litig., 695 F.2d at 500). Concerning the assessment of

the stage of the proceeding, the critical inquiry is the degree to which any proceedings of substance

on the merits have occurred. Mt. Top, 72 F.3d. at 369. The prejudice inquiry is related, as the later

in the proceedings the motion to intervene is filed, the greater the likelihood of prejudice to the

opposing parties. See In re Fine Paper Antitrust Litig., 695 F.2d at 500.

       These factors support the Individual Voters’ and the Republican Committees’ intervention

for a simple reason: this litigation has only just begun. The Complaint was filed just one business

day ago, and the named Defendants have not yet filed a responsive pleading. Accordingly, no

prejudice to Plaintiffs or the currently named Defendants would result by allowing the Individual

Voters and the Republican Committees to intervene. To the contrary, permitting the Individual

Voters and the Republican Committees to intervene at this point will allow them to assert their

defenses without any delay or disruption to the litigation. The Motion is timely.



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       B.       The Individual Voters and the Republican Committees Have a Significant
                Interest In the Litigation

       The Individual Voters and the Republican Committees satisfy the second prong of Rule

24(a) because they have “an interest relating to the property or transaction that is the subject of the

action”: the date requirement. Fed. R. Civ. P. 24(a)(2). As noted, courts across the country, see

supra n.1, and even in Pennsylvania have recognized that political party committees have an

interest in intervening in cases implicating election laws and procedures. 2 As one court has

explained, committees of the Republican Party have “an interest in the subject matter of [a] case,”

when “changes in voting procedures could affect candidates running as Republicans and voters

who [are] members of the . . . Republican Party.” See Ohio Democratic Party v. Blackwell, No.

04-1055, 2005 WL 8162665, at *2 (S.D. Ohio Aug. 26, 2005).

       The Republican Committees have an especially significant interest in this case because the

Pennsylvania Supreme Court has already granted judgment in the Republican Committees’ favor

on the very issue presented in this litigation: whether the General Assembly’s date requirement is



       2
          See, e.g., Pa. Democratic Party v. Boockvar, 238 A.3d 345, 355 (Pa. 2020); Trinsey v.
Pa., 941 F.2d 224, 226 (3d Cir. 1991) (noting the district court granted the Republican State
Committee of Pennsylvania leave to intervene in suit challenging state law governing the special
election procedure for filling a senatorial vacancy); Libertarian Party of Pa. v. Wolf, No. 20-2299,
2020 U.S. Dist. LEXIS 124200, *9 (E.D. Pa. July 14, 2020) (noting Pennsylvania Democratic
Party’s intervention in suit seeking invalidation of in-person signature and witnessing requirements
for minor political party candidates seeking to qualify for the November ballot); Stein v. Cortes,
223 F. Supp. 3d 423, 429 (E.D. Pa. 2016) (addressing recount demand for 2016 general election
ballots and noting the intervention of the Pennsylvania Republican Party); Pierce v. Allegheny Cty.
Bd. of Elections, 324 F. Supp. 2d 684, 688 (W.D. Pa. 2003) (addressing Republican challenge to
third-party delivery of absentee ballots and noting the intervention of the Pennsylvania Democratic
Party); Orloski v. Davis, 564 F. Supp. 526, 529 (M.D. Pa. 1983) (noting Pennsylvania Democratic
State Committee’s intervention in suit challenging Pennsylvania statute governing election of
Commonwealth Court judges); Gilhool v. Chairman & Comm’rs, Phila. Cnty. Bd. of Elections,
306 F. Supp. 1202, 1205 (E.D. Pa. 1969) (allowing Philadelphia County Democratic Executive
Committee and Republican City Committee to intervene in suit to enjoin the City of Philadelphia
from using voting machines allegedly favoring major party candidates).

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lawful and mandatory for the 2022 general election and beyond. See Ball Order. That order

addressed the argument that mandatory application of the date requirement violates the federal

materiality provision. See id. at 1. Plaintiffs contend that the Pennsylvania Supreme Court

“deadlocked” on that question, Compl. ¶ 51, but the effect of its order was to leave the date

requirement in place notwithstanding the challenge that the date requirement violates federal law,

see Ball Order at 1. The Republican Committees have an indisputably significant interest in

preserving their litigation victory and opposing Plaintiffs’ request that the Court create a split of

authority with the Pennsylvania Supreme Court and depart from the opinion of three Justices by

invalidating the date requirement. See Compl. ¶¶ 57–63.

       That makes the case for the Republican Committees’ right to intervention especially

straightforward.   But given political parties’ unique interest in elections, usually “[n]o one

disputes” that they “meet the impaired interest requirement for intervention as of right.” Citizens

United v. Gessler, 2014 WL 4549001, *2 (D. Colo. Sept. 15, 2014). It is easy to see why. The

Republican Committees have a clear and obvious interest—on behalf of themselves as well as their

voters, candidates, and volunteers—in the rules under which the Committees and those individuals

exercise their constitutional rights to vote and to participate in elections in Pennsylvania. See, e.g.,

Eu v. S.F. Cnty. Democratic Cent. Comm., 489 U.S. 214, 222–23 (1989) (recognizing that the First

Amendment protects campaigning and certain activities by political parties and their adherents);

Burdick v. Takushi, 504 U.S. 428, 433 (1992) (“It is beyond cavil that ‘voting is of the most

fundamental significance under our constitutional structure.’” (quoting Ill. Bd. of Elections v.

Socialist Workers Party, 440 U.S. 173, 184 (1979))). That interest includes expenditure of

“substantial resources toward educating, mobilizing, assisting, and turning out voters in




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Pennsylvania” and supporting “Republican candidates up and down the ballot.” See supra pp. 3-

4.

       The Republican Committees also have an obvious interest in advancing the overall

electoral prospects of Republican candidates in Pennsylvania, and in winning elections in the

Commonwealth. That interest entails an interest in maintaining the “competitive environment”

surrounding elections in Pennsylvania. Shays v. FEC, 414 F.3d 76, 85 (D.C. Cir. 2005). Indeed,

because their supported candidates seek election or reelection “in contests governed by the

challenged rule[],” the Republican Committees have an interest in “demand[ing] adherence” to

those requirements and preventing changes to the “competitive environment” those rules foster.

Id. at 85, 88. This is no mere hypothetical interest. The Third Circuit’s failure to enforce the date

requirement in Migliori v. Cohen actually did change the outcome of an election in which a

Republican candidate had prevailed. See Cert. Pet. at 7-12, Ritter v. Migliori, No. 22-30 (U.S. July

7,                    2022),                    https://www.supremecourt.gov/DocketPDF/22/22-

30/229591/20220707140738344_Ritter%20Petition.pdf (“Migliori Cert. Pet.”).

       The Individual Voters also possess significant interests in the subject matter of this

litigation. The weight of the Individual Voters’ votes can be “debase[d] or dilut[ed]” by the

counting of invalid ballots in contravention of the date requirement. Reynolds v. Sims, 377 U.S.

553, 555 (1964); Bush v. Gore, 531 U.S. 98, 105 (2000). The Individual Voters also have a

significant interest in maintaining certainty regarding their rights and obligations if they choose to

exercise their statutory right to vote by absentee or mail-in ballot. See 25 P.S. §§ 3146.1, 3150.11.

       The Individual Voters and the Republican Committees satisfy Rule 24(a)’s interest

requirement.




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       C.      The Individual Voters’ and the Republican Committees’ Ability To Protect
               Their Interests May Be Affected Or Impaired By Disposition of This Action

       Rule 24(a)’s impairment inquiry is “practical” and minimal: it asks only whether

disposition of the action may impair the movant’s ability to protect its interests. Fed. R. Civ.

P. 24(a)(2); see also Harris, 820 F.2d at 596. In evaluating this factor, courts “may consider any

significant legal effect on the applicant’s interest, including a decision’s stare decisis effect or a

proposed remedy’s impact on the applicant for intervention.” Pa. v. President of the United States,

888 F.3d 52, 59 (3d Cir. 2018) (internal quotation marks omitted). The Third Circuit also adheres

to a “policy preference which, as a matter of judicial economy, favors intervention over subsequent

collateral attacks.” Id.

       An injunction against the date requirement, such as Plaintiffs seek in this case, would

undermine the Individual Voters’ and the Republican Committees’ interest in those rules and could

imperil those interests in the 2022 general election and beyond. For one thing, such an injunction

could impair the Individual Voters’ and the Republican Committees’ participation in elections on

behalf of themselves, their voters, their supporters, and their candidates, and could require the

Republican Committees to change their voter-education and mobilization programs and to

reallocate, and even increase, their expenditure of resources on those programs. See, e.g., Paher,

2020 WL 2042365, at *2 (holding that an injunction invalidating a state election rule could disrupt

a political party’s efforts to educate and turn out voters and to facilitate “the election of . . .

candidates” it supports); see also Issa, 2020 WL 3074351, at *3. For another, an injunction may

also affect the Individual Voters’ and the Republican Committees’ ability to protect their interest

in maintaining the competitive environment in which their supported candidates seek election in

Pennsylvania—and could even go so far as to “fundamentally alter th[at] environment.” Shays,

414 F.3d at 86.

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       Indeed, an injunction against date requirement could subject the Republican Committees

to a “broader range of competitive tactics” from their opponents than Pennsylvania law otherwise

“would allow.” Id. Thus, an injunction could threaten prospective interference with Republican

electoral opportunities or even “chang[e] the results” of some future election in Pennsylvania to

the detriment of the Republican Committees, their voters, and their supported candidates.

Priorities USA v. Benson, 448 F. Supp. 3d 755, 764 (E.D. Mich. 2020); see also Republican Party

of Pa., No. 20A84 (Order of Alito, J.). In fact, just such a change in an election result occurred

when the Third Circuit (incorrectly) declined to uphold the date requirement in Migliori v. Cohen.

See Migliori Cert. Pet. at 7–12.

       An injunction invalidating the date requirement is especially problematic if—as Plaintiffs

request, see Compl. Prayer for Relief ¶ 2—it issues on the eve of or after the 2022 general election

and upends rules that have been in place in Pennsylvania for decades. Such eleventh-hour or post-

election changes to election rules threaten to confuse voters and undermine confidence in the

electoral process. See Purcell, 549 U.S. at 4–5. This resulting confusion or loss of confidence

may make it less likely that the Republican Committees’ voters will vote, that those voters will

successfully vote in compliance with whatever judicially imposed rules are then in place, and

ultimately that the Republican Committees’ candidates will win. See Crawford v. Marion Cnty.

Election Bd., 553 U.S. 181, 197 (2008).

       Without intervention, the Individual Voters and the Republican Committees will have no

ability to protect their interests in upholding the date requirement against the injunctions Plaintiffs

seek and any judgment against Defendants. The Court should grant intervention.




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       D.      The Individual Voters’ And The Republican Committees’ Interests Are Not
               Adequately Represented By The Existing Defendants

       The final requirement for intervention of right does not demand a showing that the

representation of the movant’s interest is for certain inadequate, only that it “may be” inadequate.

Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972). This burden too is

“minimal.” President of the United States, 888 F.3d at 60.

       And the Individual Voters and the Republican Committees once again easily carry it. No

party to this litigation shares—much less represents—the Individual Voters’ personalized interest

in protecting the weight of their votes against “dilution,” Reynolds, 377 U.S. at 555, or the

Republican Committees’ unique interests in supporting Republican voters and candidates in

participating in elections, in advancing Republican candidates’ electoral prospects, or in

Republican candidates winning elections. Thus, the plain text of Rule 24(a) is satisfied: no

“existing part[y] . . . represent[s]”—“adequately” or otherwise—any of the Individual Voters’ or

the Republican Committees’ unique “interest[s] relating to” the date requirement. Fed. R. Civ. P.

24(a)(2); see also La Union Del Pueblo Entero, 29 F.4th at 307–09.

       While the Third Circuit has recognized “a rebuttable presumption of adequacy . . . if one

party is a government entity charged by law with representing the interests of the applicant for

intervention[,] that presumption is easily rebutted here.” President of the United States, 888 F.3d

at 60. Indeed, “when an agency’s views are necessarily colored by its view of the public welfare

rather than the more parochial views of a proposed intervenor whose interest is personal to it, the

burden [of overcoming that presumption] is comparatively light.” Id. at 60-61 (internal quotation

marks omitted); see also, e.g., Crossroads Grassroots Pol’y Strategies v. Fed. Election Comm’n,

788 F.3d 312, 321 (D.C. Cir. 2015) (“[W]e look skeptically on government entities serving as




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adequate advocates for private parties.” (citing Fund For Animals, Inc. v. Norton, 322 F.3d 728,

736 (D.C. Cir. 2003))).

       As the Fifth Circuit recently concluded, the “private interests” of committees of the

Republican Party in upholding challenged election laws “are different in kind from the public

interests of the State or its officials,” including state and county election administrators. La Union

Del Pueblo Entero, 29 F.4th at 309. Here, all of the named Defendants are statutorily required to

remain impartial in elections, see e.g., 25 Pa. C.S. §§ 102, 201, 301, so they cannot “in good faith”

represent the Individual Voters’ interest in protecting the weight of their votes or the Republican

Committees’ interests in supporting Republican voters, candidates, or electoral prospects, see La

Union Del Pueblo Entero, 29 F.4th at 309.

       Moreover, Defendants “have many interests that the Committees” and the Individual

Voters do not, such as maintaining their relationship “with the courts” that routinely hear

challenges to the Commonwealth’s election laws. Id. Indeed, Defendants must consider a “broad

spectrum of views, many of which may conflict” with the Individual Voters’ personal interest and

the Republican Committees’ specific interests in advancing electoral participation by Republicans,

maintaining the competitive electoral environment, and winning elections. Utah Ass’n of Cntys.

v. Clinton, 255 F.3d 1246, 1255–56 (10th Cir. 2001). These may include the “expense of

defending” the current laws, Clark v. Putnam County, 168 F.3d 458, 461–62 (11th Cir. 1999); the

“social and political divisiveness of the election issue,” Meek v. Metropolitan Dade County, 985

F.2d 1471, 1478 (11th Cir. 1993), abrogated on other grounds by Dillard v. Chilton Cnty.

Comm’n, 495 F.3d 1324 (11th Cir. 2007) (per curiam); and the interests of opposing parties, In re

Sierra Club, 945 F.2d 776, 779–80 (4th Cir. 1991). And for their part, the County Board of




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Elections represent interests only in their respective counties, not the statewide interests the

Republican Committees represent. See, e.g., La Union Del Pueblo Entero, 29 F.4th at 308.

       This potential divergence of interests between the Individual Voters and the Republican

Committees, on the one hand, and the Acting Secretary and county boards of elections, on the

other, alone is sufficient to satisfy Rule 24(a)’s inadequacy-of-representation requirement. See,

e.g., La Union Del Pueblo Entero, 29 F.4th at 307–09; President of the United States, 888 F.3d at

60–61. Yet if more were somehow needed, regrettably the legal position of the named Defendant

Acting Secretary Chapman demonstrably diverges from that of the Individual Voters and the

Republican Committees. In the Ball case resolved by the Pennsylvania Supreme Court on

November 1, the Acting Secretary advocated the same position as the Plaintiffs in this case and

sought invalidation of the General Assembly’s duly enacted date requirement under the federal

materiality provision. See Acting Sec’y Ans. at 35–40, Bell v. Chapman, No. 102 MM 2022 (Pa.

Oct. 19, 2022) (Ex. A).     And that was after the Acting Secretary asked the Pennsylvania

Commonwealth Court to overturn the date requirement following the 2022 primary election (in

another case in which the Republican Committees were granted leave to intervene).            See

McCormick for U.S. Senate v. Chapman, 286 MD 2022, 2022 WL 2900112 (Pa. Commw. Ct. June

2, 2022). That the Acting Secretary may once again seek to set aside the General Assembly’s date

requirement only underscores that she does not adequately represent the Individual Voters’ and

the Republican Committees’ interest in upholding the requirement. See, e.g., Trbovich, 404 U.S.

at 538 n.10. The Court should grant the Individual Voters and the Republican Committees

intervention of right.




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III.   ALTERNATIVELY, THE COURT SHOULD GRANT THE INDIVIDUAL
       VOTERS   AND  THE  REPUBLICAN  COMMITTEES PERMISSIVE
       INTERVENTION

       The Individual Voters’ and the Republican Committees’ right to intervene in this case is

clear, but even if it were not, the Court should still grant them permissive intervention. Rule 24(b)

provides for permissive intervention where a party timely files a motion and “has a claim or

defense that shares with the main action a common question of law or fact.” Fed. R. Civ. P.

24(b)(1)(B). Intervention under Rule 24(b) is a “highly discretionary decision” left to the judgment

of the district court. Brody v. Spang, 957 F.2d 1108, 1115 (3d Cir. 1992); accord Harris, 820 F.2d

at 597. In exercising its broad discretion under this Rule, the Court must consider whether

intervention will unduly delay or prejudice the adjudication of the original parties’ rights. Fed. R.

Civ. P. 24(b)(3).

       The Individual Voters and the Republican Committees check each box for permissive

intervention. First, their motion is timely for all the reasons explained above. See supra Part I.A.

       Second, the Individual Voters and the Republican Committees will raise defenses that share

many “common” questions with the parties’ claims and defenses. Fed. R. Civ. P. 24(b)(1)(B).

Plaintiffs contend that the Date Requirement is unlawful under the federal materiality provision.

The Individual Voters and the Republican Committees disagree and seek to vigorously defend that

duly enacted state law.

       Finally, the Individual Voters’ and the Republican Committees’ intervention will not delay

this case or prejudice the parties. As explained above, this case has only just begun, so intervention

will impose no additional delay. See supra Part I.A. The Individual Voters and the Republican

Committees will follow any schedule the Court sets, and allowing intervention would prevent any

piecemeal litigation or the need for collateral challenges to a settlement or appeals from an order

that may prejudice the Individual Voters or the Republican Committees.
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                                          CONCLUSION

       The Court should grant the Individual Voters and the Republican Committees intervention

of right or, in the alternative, permissive intervention.



Dated: November 7, 2022                                Respectfully submitted,

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